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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

In re:

GEORGE W. SCHWAN,                                          Case No.: 3:17-bk-00912-JAF

            Debtor.                                        Chapter 7
______________________________________/

                                 TRUSTEE'S WITNESS LIST

         Aaron R. Cohen, Chapter 7 Trustee (the "Trustee"), by and through his undersigned

counsel, hereby submits the following as his witness list for the trial on the following: (i)

Creditor Linda Diamond's Motion to Dismiss Case Pursuant to 11 U.S.C. § 707(a) (Doc. 27); (ii)

Debtor's Response in Opposition to Linda Diamond's Motion to Dismiss Chapter 7 Case

Pursuant to 11 U.S.C § 707(a) (Doc. 30); and (iii) Trustee's Response in Opposition to Creditor

Linda Diamond's Motion to Dismiss Chapter 7 Case Pursuant to 11 U.S.C. § 707(a) (Doc. 32),

scheduled for January 11, 2018, at 10:00 a.m.:

                                          WITNESSES

         The Trustee may call the following witnesses:

         1.     Himself.

         2.     The Debtor.

         3.     Linda Diamond.

         4.     Representative(s) of Diamond Neon Supply Company.

         5.     Any person identified through discovery having information relevant to the issues
                before the Court.

         6.     Any witness called by the Debtor.

         7.     Rebuttal witnesses for any witness called by the Debtor.

         8.     Any witness called by Linda Diamond.


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         9.      Rebuttal witnesses for any witness called by Linda Diamond.

         10.     Any witness called by Diamond Neon Supply Company.

         11.     Rebuttal witnesses for any witness called by Diamond Neon Supply Company.

         The Trustee reserves the right to supplement and amend this witness list.


Dated: September 27, 2017                     AKERMAN LLP

                                              By:/s/ Jacob A. Brown
                                                 Jacob A. Brown
                                                 Florida Bar No.: 0170038
                                                 Email: jacob.brown@akerman.com
                                                 Katherine C. Fackler
                                                 Florida Bar No.: 0068549
                                                 Email: katherine.fackler@akerman.com
                                                 50 North Laura Street, Suite 3100
                                                 Jacksonville, FL 32202
                                                 Telephone: (904) 798-3700
                                                 Facsimile: (904) 798-3730

                                              Attorneys for Aaron R. Cohen, Chapter 7 Trustee




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished either
by electronic notification or by United States mail, postage prepaid and properly addressed, this
27th day of September, 2017 to:

George W. Schwan                                    David S. Jennis, Esq.
1823 Barksdale Drive                                Eric D. Jacobs, Esq.
The Villages, FL 32162-7007                         Jennis Law Firm
                                                    400 North Ashley Drive, Suite 2450
                                                    Tampa, FL 33602

Aaron R. Cohen, Chapter 7 Trustee                   United States Trustee - JAX 13/7
P.O. Box 4218                                       Office of the United States Trustee
Jacksonville, FL 32201-4218                         George C. Young Federal Building
                                                    400 West Washington Street, Suite 1100
                                                    Orlando, FL 32801

Christian W. Waugh, Esq.
13940 U.S. Hwy 441, Suite 906
The Villages, FL 32159

                                                    /s/ Jacob A. Brown
                                                    Attorney




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